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      OMAR LUNA
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      OMAR LUNA,                                        Case No.: 2:24-cv-02700-DDP-BFMx
11
12                 Plaintiff,                           NOTICE OF VOLUNTARY
            vs.                                         DISMISSAL OF ENTIRE ACTION
13                                                      WITH PREJUDICE
14
      AMERICAN FINANCIAL INTEGRITY
15    OF CALIFORNIA, INC. D/B/A PLS
16    CHECK CASHERS; AHARON AZAMI;
      and DOES 1 to 10,
17
                   Defendants.
18
19
20          PLEASE TAKE NOTICE that Plaintiff OMAR LUNA (“Plaintiff”) pursuant to
21    Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
22    action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
23    provides in relevant part:
24          (a) Voluntary Dismissal.
25                 (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                          and any applicable federal statute, the plaintiff may dismiss an action
27
                          without a court order by filing:
28


                                                    1
                     NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1                       (i)   A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5    Court.
 6
 7    DATED: June 4, 2024                   SO. CAL. EQUAL ACCESS GROUP
 8
 9
10                                          By:     /s/ Jason J. Kim
                                                  Jason J. Kim, Esq.
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                                                  Attorneys for Plaintiff
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                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
